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UNITED STATES DISTRICT COURT

FOR THE 05`/0 §§
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WESTERN DISTRICT OF TENNESSEE » ply

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ray 69 §;/=’z' /
No; 1=03- 10041-01-1&//»“?1%$}050

UsAv. RONNIE D. DEAN MCU'@,/ /
A]) Prosequendum
FOR; RE-SENTENCING HEARING

ORDER OF PRODUCTION

TO: USM, Western District of TN
W(:H'd€l], FCI - MEMPHIS , FEDERAL CORRECTIONAL INSTITUTION
1101 JOHN A;`Z.DENIE ROAD, MEMPHIS, TN 38134
YOU ARE HEREBY COMMANDED to have the person of
RONNIE D. DEAN , Il]mate # 19050-078 ,
by you restrained of his/her liberty, as it is Said, by Whatsoever names detained, together With the
day and cause of his being taken and detained, before the Honorable Jarnes D. Todd, U. S.
District Court Judge, for the Western District of Tennessee, at the room of said Court, in the City

of Jackson, Tennessee, at 8:45 a.m. on the 10th day of August , 20 05

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then and there to do, submit to, and receive Whatsoever the said Judge Shall then and there
determine in that behalf; and have you then and there this writ; further, to hold him in federal

custody until disposition of this case and to produce him for Such other appearances as this court

may direct. ,
ENTERED THIS / 51 DAY oF %/ , 20 § 5
y /)Mw/ 25

 

JAME . TODD
UNIT STATES DISTRICT .TUDGE

Thls document entered on the docket she _ ln cornp!>lance
with Hu|e 55 and/or 32(b) FRCrP on g

DISTRICT COURT - WESTERN D"'TRCT 0 TESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 65 in
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Honorable J ames Todd
US DISTRICT COURT

